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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                              Case No. 09-22992-CIV-UNGARO
 GUSTAVO SAMPAIO,

        Plaintiff,

 v.

 NATIONAL ENTERPRISE SYSTEMS, INC.,

        Defendant.
                                                    /

                               ORDER DISMISSING THE CASE

        THIS CAUSE is before the Court upon the parties’ Joint Stipulation of Dismissal With

 Prejudice, filed June 23, 2010 (D.E. 14.)

        THE COURT has considered the Stipulation and the pertinent portions of the record and

 is otherwise fully advised in the premises. It is hereby

        ORDERED AND ADJUDGED that pursuant to Fed. R. Civ. P. 41, this case is

 DISMISSED WITH PREJUDICE with each party to bear their own attorneys’ fees and costs.

        DONE AND ORDERED in Chambers, Miami, Florida, this _24th_day of June, 2010.




                                                        ________________________________
                                                        URSULA UNGARO
                                                        UNITED STATES DISTRICT JUDGE

 copies provided:
 counsel of record
